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Cas 4 14- cv-00242-O Document 1 Filed 04/08/14 P3ge 1 of 15 P395HQ§§D

HG'§Y£[!;:STR$CT COURT
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IN THE UNITED STATES DISTRICT COURT scm
FoR THE NoRTHERN DISTRICT oF TEXAS 28!!¢ APR ~3 pH h 08

FORT WORTH DIVISION CL
ERK OF COURT

, BETH CHANEY MACNEILL
Plaintin

VS.
4~14CV-242-0
CIVIL ACTION NO. _________

NIRMAL JAYASEELAN, M.D., DOM]NGO
K. TAN, M.D., CHAD CARLTON, M.D.,
TEXAS HEALTH HARRIS METHODIST
HOSPITAL FORT WORTH, EMERGENCY
MEDICINE CONSULTANTS LTD.,
BAYLOR ALL SAINTS MEDICAL CENTER
AT FORT WORTH AND EMCARE, INC.

Defendanm

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PLAINTIFF’S ORIGINAL COMPLAINT

 

NOW COMES BETH CHANEY MACNEILL, Plaintijf in the above-entitled and
numbered cause, complaining of Defendants, NIRMAL JAYASEELAN M.D., DOMINGO K.
TAN M.D., CHAD CARLTON M.D., TEXAS HEALTH HARRIS METHODIST
HOSPITAL FORT WORTH, EMERGENCY MEDICINE CONSULTANTS LTD.,
BAYLOR ALL SAINTS N[EDICAL CENTER AT FORT WORTH AND EMCARE, INC.
and for cause of action Would respectfully show this Court the following:

PARTIES

l.l Plaintiff is a resident of Harrison, Boone County, Arkansas.

1.2 Defendant Nirmal Jayaseelan, M.D. is a resident of Dallas, Dallas County, Texas
and may be served With process at his principle place of business at 11970 Nortll Central

Expressway, Suite 670, Dallas, Texas 75243. On the occasion in question, Nirmal Jayaseelan,

MACNEILL - QRIGINAL CoMPLAlNT PAGE 1

 

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M.D. was a physician licensed by the State of Texas to practice medicine and surgery and was
providing medical and surgical services in Dallas, Dallas County, Texas. He held himself out
and represented to the Plaintiff, and the public in general, that he was a competent and qualified
physician specializing in Bariatric and General Surgery. On the occasion in question, Beth
Chaney MacNeill had a physician/patient relationship with Defendant Nirmal Jayaseelan, M.D.

1.3 Defendant Domingo K. Tan, M.D. is a resident of Fort Worth, Tarrant County,
Texas and may be served with process at his principle place of business at 1001 College Avenue,
Suite B, Fort Worth, Texas 76104. On the occasion in question, Domingo K. Tan, M.D. was a
physician licensed by the State of Texas to practice medicine and surgery and was providing
medical and surgical services in Fort Worth, Tarrant County, Texas. He held himself out and
represented to the Plaintiff, and the public in general, that he was a competent and qualified
physician specializing in General Surgery. On the occasion in question, Beth Chaney MacNeill
had a physician/patient relationship with Defendant Domingo K. Tan, M.D.,

l.4 Defendant Chad Carlton, M.D. is a resident of Plano, Collin County, Texas and
may be served with process at his principle place of business at Nicholson Clinic, 5500
Democracy Dr. Suite 150 Plano, Texas 75024-4202. On the occasion in question, Chad Carlton,
M.D. was a physician licensed by the State of Texas to practice medicine and surgery and was
providing medical and surgical services in Dallas, Dallas County, Texas. He held himself out
and represented to the Plaintiff, and the public in general, that he was a competent and qualified
physician specializing in Bariatric and General Surgery. On the occasion in question, Beth

Chaney MacNeill had a physician/patient relationship with Defendant Chad Carlton, M.D.

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1.5 Defendant TeXas Health Harris Methodist Hospital Fort Worth is a private health
care facility providing Level II emergency medical services in Fort Worth, Tarrant County,
Texas and may be served with process by delivering a copy of this complaint to its registered
agent Donald B. Collins at 612 E. Larnar Blvd. Ste 1400, Arlington, Texas 76011. On the
occasion in question, Texas Health Harris Methodist Hospital Fort Worth was licensed by the
State of Texas to provide emergency medical and surgical services in Fort Worth, Tarrant
County, Texas. lt held itself out and represented to the Plaintiff, and the public in general, that it
was a competent and qualified Level II emergency health care facility. On the occasion in
question, Beth Chaney MacNeill had a hospital/patient relationship with Defendant Texas Health
Harris Methodist Hospital Fort Worth. .

1.6 Defendant Emergency Medicine Consultants, Ltd. is a TeXas Limited Partnership.
Emergency Medicine Consultants, Ltd. provides emergency medical services to Texas Health
Harris Methodist Hospital Fort Worth. Emergency Medicine Consultants, Ltd. may be served
with process by delivering a copy of this complaint to its registered agent J. Alexander
Geesbreght at 6451 Brentwood Stair Road Suite 200 Fort Worth, Texas 76112. On the occasion
in question, Emergency Medicine Consultants, Ltd. was licensed by the State of Texas to provide
emergency medical services in Fort Worth, Tarrant County, Texas. It held itself out and
represented to the Plaintiff, and the public in general, that it was a competent rand qualified
emergency medical services provider. On the occasion in question, Beth Chaney MacNeill had a
emergency medical services provider/patient relationship with Defendant Emergency Medicine

Consultants, Ltd..

MACNEILL - OR|GlNAL CCMPLA|NT PAGE 3

 

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1.7 Defendant Baylor All Saints Medical Center Fort Worth is a private health care
facility providing emergency medical services in Fort Worth, Tarrant County, Texas and may be
served with process by delivering a copy of this complaint to its registered agent CT Corporation
System at 350 N. St. Paul Street, Suite 2900, Dallas, Texas 75201-4234. On the occasion in
question, Baylor All Saints Medical Center Fort Worth was licensed by the State of Texas to
provide emergency medical and surgical services in Fort Worth, Tarrant County, Texas. It held l
itself out and represented to the Plaintiif, and the public in general, that it was a competent and
qualified emergency health care facility. On the occasion in question, Beth Chaney MacNeill had
a hospital/patient relationship with Defendant Baylor All Saints Medical Center Fort Worth.

1.8 Defendant EmCare, Inc. is a foreign corporation doing business in the State of
Texas. EmCare, lnc. is an emergency medicine service organization that provides emergency
medical services to Baylor All Saints Medical Center Fort Worth . EmCare, Inc. may be served
With process by delivering a copy of this complaint to its registered agent Corporation Service
Company d/b/a CSC - Lawyers Incorporating Service Company at 211 E. 7th Street Suite 620
Austin, Texas 78701-3218. On the occasion in question, EmCare, lnc. was licensed by the State
of Texas to provide emergency medical services in Fort Worth, Tarrant County, Texas. It held
itself out and represented to the Plaintiff, and the public in general, that it was a competent and
qualified emergency medical services provider. On the occasion in question, Beth Chaney
MacNeill had a emergency medical services provider/patient relationship with Defendant

EmCare, Inc..

MACNE|LL - ORlGiNAL CoMPLAiNT ' PAGE 4

 

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JURISDICTION AND`VENUE

2.1 This Court has federal question jurisdiction over this action because Plaintiffs
cause action arises under 42 U.S.C.A. § 1395dd "EMTALA".1

2.2 This Court has complete diversity jurisdiction over the parties to this action
because no defendant is a resident of the same state as the Plaintiff.2 Plaintiff is a resident of the
State of Arkansas. Defendants Nirmal Jayaseelan, M.D., Domingo K. Tan, M.D. and Chad
Carlton, M.D. are residents of the State of Texas. Defendant EmCare, Inc. is a Delaware
corporation doing business in the State of Texas and Defendant Emergency Medicine
Consultants, Ltd. is a Texas Lirnited Partnership.

2.3 The matter in controversy exceeds the sum or value of the Seventy-Five Thousand
Dollar ($75,000.00) minimum jurisdictional limits of this Court, exclusive of costs and interest3

2.4 Venue is proper in the Northern District of Texas because a substantial part of the

. . . . . . . . . . 4
events or omissions giving rise to this claim occurred in the Northern District of Texas.

CONDITIONS PRECEDENT
3.1 Pursuant to Federal Rule of Civil Procedure 9(c), all conditions precedent have
occurred or been performed
3.2 Plaintiff contends that Chapter 74 of the Texas Civil Practice and Remedies Code
does not apply to Plaintiffs claims against Defendants Texas Health Harris Methodist Hospital
Fort Worth, Emergency Medicine Consultants, Ltd., Baylor All Saints Medical Center Fort

Worth, EmCare, Inc., Domingo Tan M.D. and Chad Carlton M.D.. However, without waiving

 

l28 U.s.C. §1331

1 28 U.s.c. §i332(a)(1)
3 28 U.s.C. §1332(3)

4 28 U.s.c. §1391(3)(2)

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such assertions, Plaintiff has fully complied with the provisions of the Texas Civil Practice and
Remedies Code §74.051 and §74.052 by duly and properly notifying all Defendants of this
health care liability claim prior to the filing of this Complaint and producing a HIPAA compliant
authorization
STATEMENT OF FACTS
4.1 On April 21, 2012, Defendant Nirmal Jayaseelan, M.D. performed an endoscopy

on Beth MacNeill. 'Ihe endoscopy Was normal. There was no esophagitus. No biopsy was

` performed and there was no esophageal manometry. Ms. MacNeill did not have refractory reflux,

regurgitation or an incompetent sphincter. She did not complain of reflux disease and Defendant
Nirmal Jayaseelan, M.D. had not medically managed her for GERDS.

4.2 On April 27, 2012, Defendant Nirmal Jayaseelan, M.D. performed an outpatient
gastric fundo plication for GERDS on Beth MacNeill. Fundo plication surgery is a last resort
surgical procedure for GERDS. Beth MacNeill did not have GERDS.

4.3 On April 28, 2012, Beth MacNeill presented to the Texas Health Harris Methodist
Hospital Fort Worth Emergency Departrnent and requested examination and treatment for
complaints of severe abdominal pain.

4.4 In April 2012, Texas Health Harris Methodist Hospital Fort Worth was a Level II
Trauma Center and it contracted with Emergency Medicine Consultants, Ltd. to provide Level ll
emergency medical services.

4.5 An imaging study of Beth MacNeill's abdomen confirmed pneumoperitoneum and
ascites indicative of a surgical perforation. The perforation occurred during the iiindo plication
procedure Gastric perforation is a surgical emergency. A delay in repairing a gastric perforation

will likely cause a material deterioration of the patient’s condition. Beth MacNeill's gastric

MACNE|LL - ORiGiNAL CoMPLAmT PAGE 6

 

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perforation was a surgical emergency and her medical condition required emergency services

from a hospital and a surgeon. Texas Health Harris Methodist Hospital Fort Worth and
Emergency Medicine Consultants, Ltd. discharged her home.

4.4 On April 29, 2012, Beth MacNeill presented to Baylor All Saints Medical Center
at Fort Worth Emergency Department via ambulance in septic shock. A request was made on
Beth MacNeill's behalf for examination and treatment

4.5 In April 2012, Baylor All Saints Medical Center at Fort Worth contracted with
EmCare, Inc. to provide emergency medical services.

4.6 Examination by EmCare physician, Asha Abraham D.O., discovered that Beth
MacNeill's medical condition was emergent. Her abdomen was distended. She Was diffuser
tender to palpation, hypotensive, tachycardic and lactated at 9.37. She was in acute renal failure
and her creatinine was 2.5. She was hyperkalemic and her potassium was over 5. CT images
showed gross pneumoperitoneum and massive ascites indicative of a perforation or ischemic
stomach.

4.7 Dr. Abraham requested a surgical consultation from general surgeon, Domingo
Tan, M.D. Dr. Tan recognized the probability of a gastric leak and prepared Ms. MacNeill for
operative exploration Dr. Tan requested a bariatric consultation from Chad Carlton M.D. Dr.
Carlton noted gross pneumoperitoneum and massive ascites. His assessment Was intra-abdominal
sepsis likely from an ischemic stomach and breakdown of the plication site. Dr. Carlton did not
perform emergency surgery to repair the perforation.l He initiated efforts to transfer Ms.'
MacNeill to Dr. Jayaseelan.

4.8 April 29, 2012 Was a Sunday and Defendant Nirmal Jayaseelan, M.D. was not on

call. John Winter, M.D. was covering for Dr. Jayaseelan that weekend but Dr. Winter was not a

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bariatric surgeon and he refused to accept Beth MacNeill's transfer to Forest Park Medical
Center.

4.9 Neither Baylor All Saints Medical Center at Fort Worth, EmCare, Dr. Tan nor Dr.
Carlton performed emergency Surgery to repair the gastric perforation. They kept Ms. MacNeill
overnight and transferred her to Forest Park Medical Center the next day.

4.10 Beth MacNeill's medical condition deteriorated while she waited to be transferred
to Forest Park Medical Center.

4.11 The fundo plication surgery and the delay in the surgical repair of the gastric

perforation caused or contributed to cause injuries and damages to Beth MacNeill.

STATEMENT OF THE CLAIM
NEGLIGENCE
Nirmal Jayaseelan, M.D.

On the occasion in question, Nirmal Jayaseelan, M.D. committed one or more of the
following acts and/or omissions of negligence, proximately causing the occurrence or injuries in
question:

5.1 He performed a fundo plication surgery for GERDS on Beth MacNeill;

5.2 He performed fundo plication surgery for GERDS without attempting to
medically managing Beth MacNeill for GERDS;

5.3 He performed fundo plication surgery for GERDS in the absence of
refractory reflux, regurgitation or an incompetent sphincter; and

5.4 He performed fundo plication surgery for GERDS without esohageal manometry;
The above and foregoing acts and/or omissions of negligence were jointly and severally a

proximate cause of the injuries and damages to the Plaintiff.

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42 U.S.C.A. § 1395dd "EMTALA "
T he Emergency Medical Treatment and Actt've Labor Act 42 U.S.C.A. §1395dd requires

that "If an individual comes to a hospital 's emergency department and requests examination and
treatment for a medical condition, the hospital must provide for an appropriate medical
screening examination within the capability of the hospital 's emergency department, including
ancillary services routinely available to the emergency department to determine whether or not
an emergency medical condition exits". 42 U.S.C.A. §1395dd(a) If the hospital determines that
the individual has an emergency medical condition, the hospital must provide either-- A) within
the staff and facilities available at the hospital for such further medical examination and such
treatment as may be required to stabilize the medical condition, or B) for transfer of the
individual to another medical facility in accordance with subsection (c).

42 U.S.C.A. §1395dd(b) (1)(A) (B). Subsection (c) restricts the transfer of the individual if the
emergency medical condition has not been stabilized. The term ”emergency medical condition "
means a medical condition manifesting itself by acute symptoms of sufficient severity such that
the absence of immediate medical attention could reasonably be expected to result in placing the
health of the individual in serious jeopardy, serious impairment to bodily functions or serious
dysfunction of any bodily organ or part. 42 U.S.C.A. §1395dd(e)(1)M)(i-iii) The term "stabilize"
means to provide such medical treatment of the condition as was necessary to assure, within
reasonable medical probability, that no material deterioration of her condition was likely to
result from or occur during the transfer of the individual from a facility. 42 U.S.C.A.

§1395dd(e)(3)(B)

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Texas Health Harris Methodist Hospital Fort Worth

On the occasion in question, Texas Health Harris Methodist Hospital Fort Worth

committed one or more of the following acts and/or omissions in violation of EMTALA:

6.1

6.2

6.3

6.4

6.5

Texas Health Harris Methodist Hospital Fort Worth failed to provide Beth
MacNeill an appropriate medical screening examination;

Texas Health Harris Methodist Hospital Fort Worth failed to follow appropriate
medical screening examination standards in its evaluation of Beth MacNeill;

Texas Health Harris Methodist Hospital Fort Worth failed to establish appropriate
medical screening examination standards for patients like Beth MacNeill;

Texas Health Harris Methodist Hospital Fort Worth failed to stabilize Beth
MacNeill's emergency medical condition; and

Texas Health Harris Methodist Hospital Fort Worth discharged Beth MacNeill
with an emergency medical condition.

Plaintiffs injuries and damages were jointly and severally a direct result of Defendant

Texas Health Harris Methodist Hospital Fort Worth's acts or omissions

Emergency Medicine Consultants Ltd.

On the occasion in question, Emergency Medicine Consultants Ltd. committed orie or

more of the following acts and/or omissions in violation of EMTALA:

7.1

7.2

7.3

7.4

7.5

Emergency Medicine Consultants Ltd. failed to provide Beth MacNeill an
appropriate medical screening examination;

Emergency Medicine Consultants Ltd. failed to follow appropriate medical
screening examination standards in its evaluation of Beth MacNeill;

Emergency Medicine Consultants Ltd. failed to establish appropriate medical
screening examination standards for patients like Beth MacNeill;

Emergency Medicine Consultants Ltd. failed to stabilize Beth MacNeill's
emergency medical condition; and

Emergency Medicine Consultants Ltd. discharged Beth MacNeill with an
emergency medical condition

MACNE|LL - ORlGlNAL CoMPLAlNT PAGE 10

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Plaintiffs injuries and damages were jointly and severally a direct result of Defendant

Emergency Medicine Consultants Ltd.'s acts or omissions.

Baylor All Saints Medical Center Fort Worth
On the occasion in question, Baylor All Saints Medical Center Fort Worth committed one
or more of the following acts and/or omissions in violation of EMTALA;

8.1 Baylor All Saints Medical Center Fort Worth failed to provide Beth MacNeill an
appropriate medical screening examination;

8.2 Baylor All Saints Medical Center Fort Worth failed to follow appropriate medical
screening examination standards in its evaluation of Beth MacNeill;

8.3 Baylor All Saints Medical Center Fort Worth failed to establish appropriate
medical screening examination standards for patients like Beth MacNeill;

8.4 Baylor All Saints Medical Center Fort Worth failed to stabilize Beth MacNeill's
emergency medical condition; and

8.5 Baylor All Saints Medical Center Fort Worth kept Beth MacNeill overnight and
transfeer her to Forest Park Medical Center the next morning.

Plaintiffs injuries and damages were jointly and severally a direct result of Defendant

Baylor All SaintsMedical Center Fort Worth acts or omissions

Emcare, Inc.
On the occasion in question, EmCare, Inc. committed one or more of the following acts
and/or omissions of negligence, proximately causing the occurrence or injuries in question:

9.1 EmCare, Inc. failed to provide Beth MacNeill an appropriate medical screening
examination;

9.2 EmCare, Inc. failed to follow appropriate medical screening examination
standards in its evaluation of Beth MacNeill;

MACNE|LL - ORiGiNAL CoMPLAiNT PAGE 11

 

 

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9.3 EmCare, Inc. failed to establish appropriate medical screening examination
standards for patients like Beth MacNeill;

9.4 EmCare, Inc. failed to stabilize Beth MacNeill'S emergency medical condition;
and

9.5 EmCare, Inc. kept Beth MacNeill overnight and transfered her to Forest Park
Medical Center the next morning.

Plaintiffs injuries and damages were jointly and severally a direct result of Defendant
EmCare, Inc.'s acts or omissions.
Domingo K. Tan, M.D.
On the occasion in question, Domingo K. Tan, M.D. committed one or more of the
following acts and/or omissions in violation of EMTALA:
10.1 He failed to stabilize Beth MacNeill's emergency medical condition;
Plaintiffs injuries and damages were jointly and severally a direct result of Defendant

Domingo Tan M.D.'s acts or omissions.

Chad Carlton, M.D.
On the occasion in question, Chad Carlton, M.D. committed one or more of the following
acts and/or omissions in violation of EMTALA:
11.1 He failed to stabilize Beth MacNeill's emergency medical condition; and

11.2 He transferred Beth MacNeill when her emergency medical condition Was not
stabilized.

Plaintiffs injuries and damages were jointly and severally a direct result of Defendant

Chad Carlton M.D.'s acts or omissions

MACNEILL - ORlGlNAL COMPLA|NT PAGE 12

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DAMAGES

As a direct and proximate result of the Defendants ’ acts and/or omissions, Beth

Chaney MacNeill, has suffered past, present and future injuries and damages including, but not

necessarily limited to, reasonable and necessary medical expenses, conscious physical pain and

suffering, physical disability, physical disiigurement, mental anguish, emotional harm, lost

earnings and loss of earning capacity. The amount of the above-described damages are

substantially in excess of the minimum jurisdictional limits of this Court.

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and 5 (d).

DEMAND FOR JURY

Plaintiff hereby files her Jury Demand with the Court as required by FRCP 38 (b)

DEMAND FOR JUDGMENT

WHEREFORE, PREMISES CONSIDERED, Plaintiff, Beth Chaney MacNeill prays

that the Defendants be cited to appear and answer herein, and that Plaintiff has judgment, jointly

and severally, against such Defendants as follows:

(1)

(2)

(3)

That Plaintiff, Beth Chaney MacNeill recover of and from the
Defendants judgment for the above-described past and/or future
injuries and damages in an amount in excess of the minimum
jurisdictional limits of this Court;

That Plaintiff Beth Chaney MacNeill, recover pre-judgment
interest on the amount accrued beginning on the 180th day after
the date the Defendants receive written notice of claim or on the
day the suit is filed, whichever occurs first, and ending on the day
preceding the date judgment is rendered;

That Plaintiff, Beth Chaney MacNeill, recover post-judgment
interest on the amount due at the highest legal rate allowed by law
from the date of judgment until paid; and

MACNE|LL - ORlGiNAL CoMPLAlNT

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(4) That Plaintiff, Beth Chaney MacNeill, recover all costs of Court,
and such other and further relief, at law or in equity, to which
Plaintiff may show herself justly entitled.

Respectfully Submitted,

B .
nbcrt . Hammer
State Bar No.: 08854780

Michael J. Henry
State Bar. No.: 09482300

ROBERT W. HAMMER

675 North Henderson, Suite 300
Fort Worth, Texas 76107
Telephone 817/ 332-8266
Telefax 817/ 332-8708
robert@rhammerlaw.com

AND

MICHAEL J. HENRY
ATTORNEY AT LAW, P.C.
675 North Henderson, Suite 300
Fort Worth, Texas 76107
Telephone 817/ 877-3303
Telefax 817/ 33 8-9109
henrv@henrvtexlaw.com

ATTORNEYS FOR PLAINTIFF

MACNE|LL - ORlGlNAL CoMPLAlNT PAGE 15

 

 

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Js 44 (Rev 09/11)

The JS 44 civil coversheet and the infomation contained herein neither re lace nor su plen'ent the filing and service of pleadngs or other 453
by local niles of court. This form, approved by the J udicial Conference o the United tates inSeptember 1974, is required for the use of

CIVIL COVER SHEET

the civil docket sheet (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

   
  
 

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vI. (a) PLAIN'HFFS
Beth Chaney MacNeill

(b) County of Residence

of First Listed PlaintiH

(EXCEPTIN U.S. PMINTIFF CASES)

C) AttOmeyS (Firmr Name, Address, and Telephone Numbe))

Ro ertW. Hamm
675 N. Henderson #300

  
 

Cl l U.S. Govemment
Plaintiff

U 2 U.Sv Govemmeot
Defendant

Fort Worth Texas 76107 817
II. BASIS OF JUR[SDICTION (Placean "X*

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D 3 Federal Quesn`on

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(Indicate Ci¢izenship of Parties in Item Ill)

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NOTE

 

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Nirmal Jayaseelan M. D ,Domingo K Tan M. 08 Cha
M.D.,Texas Health Harris Methodi

Center at Dalla${;li$§ib

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IIL ClTIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiw

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IV. NATURE OF SUIT (Place an "X in OneB

 

 

 
 

   

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CI 151 Medicare Act

CI 152 Recovery ofDefaulted
Student Loans
(Excl. Veterans)

C`.l 153 Recovery of Overpayment
of Veteran’s Benelits

D 160 Stockholders’ Suits

Cl 190 Other Contract

C'] 195 Contract Product Liability

D 196 Fraxichise

PERSONAL INJURY

Cl 310 Airpla.ne

121 315 Airplan¢ Pmducc
liability

CI 320 Assault, Libel &
Slander

Cl 330 Federal Empioyers’
Liability

ij 340 Marine

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Product Liability
Cl 360 Other Personal

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D 230 Rent Lease & Ejectment
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D 245 Tort Pmduct Liability
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\ PERSONAL INJURY
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PERSONAL PROPERTY
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D 555 Pn`son Condit:ion

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13 710 Fair Labor Staodards
Act

lj 720 Labor/Mgmt. Relatioos

CI 740 Railway Labor Act

0 751 Family and Medical
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C] 790 Other Labor Litigation

D 791 Empl. Ret. loc.
Security Act

 

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Alien Detainee
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13 870 Taxes (U S. Plaintiff
or Defendaot)

13 871 lRS--'l'hi`rd Party
26 USC 7609

 

 

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375 False Claims Act

400 Suite Reapportionrnent

410 Antitrust

430 Banks and Banking

450 Commerce

460 Depoxtation

470 Racketeer IoHuenced and
Cormpt Organizations

480 Consumer Crcdit

490 Cablc/Sat 'I'V

850 Secun`ties/Commoditjes/
Exchaoge

890 Other Smtutory Acti`ons

891 Agriculuual Acts

893 Environmentel Matters

895 Freedom of lnformation
Act

896 Arbitrau`on

899 Admixiisv'ative Procedure
Act/Revicw or Appea] of
Agency Decision

950 Constitutionality of
State S¥Zf|lfcs

 

V. ORIGIN (Place an "X” in One Box Only) T f d fr
le Original_ lJ 2 Removed from Cl 3 Remanded from Cl 4 Reinstated or CI 5 anr:r§e:rggsmc‘:m Cl 6 Multid_istrict
Proceeding State Court Appellate Court Reopened (s!£cia:i Litigatl°“

 

VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which
42 U.S.C.A. 1395dd 'EMTALA

Brief description of cause
_Plaintiff presented to Defendants' ERs' and Defendants failed to stabilize her emergency medical oondition.

you are filing (Do not cite jurisdictional status unless diversity)!

 

 

 

 

 

 

 

VII. REQUESTED IN CI CHECK ir THis is A CLASS ACTioN DEMAND $ CHECK YES <mly ifdemand¢d m complaint
COMPLAINT: UNDER F.R_c.i>. 23 2,500,000.00 JuRY DEMANI)= al Yes rJ No
VIII. RELATED CASE(S)
PENDING OR CLOSED: (S” "'S""”"“”`“) JUDGE DoCKET NUMBER
DATE OF ATI` RNEY OF RECORD
04/08/2014
FOR OF%C SE ON
RECEiPT #`_ AMoUNr 5{7‘~( 00 . APPLYING 111> JUDGF. MAG. IUDGE

